                IN THE DISTRICT COURT OF THE UNITED STATES
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                            ASHEVILLE DIVISION
                                 1:09-CR-23-6


UNITED STATES OF AMERICA                     )
                                             )
Vs.                                          )            ORDER
                                             )
PHILLIP EUGENE HILL.                         )
______________________________________       )


        THIS CAUSE coming on to be heard and being heard before the undersigned,

pursuant to a motion filed by the defendant entitled “Motion to Relieve Counsel”

(#243) and a motion filed by Derrick R. Bailey, attorney for the defendant, entitled

“Motion to Withdraw as Counsel and For an Order Appointing New Counsel and For

an Extension of Time to File Additional Objections to the Presenting Report” (#248).

Upon the call of this matter on for hearing, it appeared that the defendant was

present, his attorney Derrick R. Bailey was present, and the government was

represented by Assistant United States Attorney Don Gast. From the statements of

Mr. Bailey, the statements of the defendant, and the arguments of the Assistant

United States Attorney, the court makes the following findings:

        Findings. After this matter was called, the undersigned made a short inquiry

to determine whether or not there was a possibility that confidential communications

would likely be discussed at the hearing. After hearing arguments of Mr. Bailey and

Assistant United States Attorney Gast, the undersigned became of the opinion that


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there was at least the potential that confidential communications would have to be

discussed. The undersigned then excluded Mr. Gast and all other persons from the

courtroom except essential court personnel and conducted a sealed hearing with the

defendant as shall appear of record. Before doing so, the undersigned advised the

government and the defendant that the sealed proceeding related only to the Motion

to Relieve Counsel (#243) and the portion of Mr. Bailey’s motion relating to his

motion to withdraw and any hearing regarding the request for extension of time to file

additional objections to the presentencing report would be held in open court.

      After conducting the sealed proceeding, the undersigned conducted an inquiry

as to when the defendant’s matter would be set for sentencing. The undersigned was

advised that sentencing in this matter would be sometime after February of 2010.

      Discussion: An indigent defendant has no right to have a particular lawyer

represent him or her and can demand a different attorney only with good cause. US

v. Allen, 789 F.2d 90, 92 (1st Cir. 1986). The determination of whether or not the

motion for substitution of counsel should be granted is within the discretion of the

trial court and the court is entitled to take into account the countervailing state

interest in proceeding on schedule. Morris v. Slappy, 461 U.S. 1 (1983). Considering

the motion herein, the undersigned has considered the following factors:             (1)

timeliness of the motion; (2) made inquiry as to the reasons why the defendant does

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not wish for Mr. Bailey to represent him further; and (3) whether or not there is such

a conflict between the defendant and Mr. Bailey that is so great it has resulted in a

total lack of communication preventing an adequate defense. U.S. v. Gallop, 838

F.2d 105 (4th Cir. 1988).

      In regard to the timeliness of the motion, the sentencing in this matter has not

been scheduled and the undersigned has been advised by the Clerk of the court that

the sentencing cannot be set until either late February 2010 or even thereafter. It is

the opinion of the undersigned there could be sufficient time within which to appoint

another attorney and for that attorney to be prepared for sentencing. This factor must

be weighed in favor of granting the motion.

      The undersigned made an inquiry as to the reasons for the conflict between the

defendant and his attorney. As stated above, that inquiry appears in the closed and

sealed record. The undersigned is of the opinion, after conducting the examination

and reviewing the motion of Mr. Bailey, that Mr. Bailey has been performing his job

in excellent fashion in representing the defendant and there is no basis for the

defendant’s opinion that Mr. Bailey is not providing good representation.

      The court has further examined the matter to determine whether or not there is

such a conflict between Mr. Bailey and the defendant that there is a total lack of

communication between them preventing an adequate defense. It appears there is

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excellent communication between the defendant and Mr. Bailey. Mr. Bailey has

made repeated visits to the defendant and has complied with many requests of the

defendant. Mr. Bailey has made inquiries over and above that which would be

normally expected by counsel in regard to representing the best interest of the

defendant. The undersigned is of the opinion that Mr. Bailey is doing a good job in

representing the defendant.

      After considering all the factors, it appears there is time before sentencing to

appoint other counsel. As a result of the inquiry made by the undersigned, the

undersigned can find no good reason for the appointment of another attorney and

there does not appear to be a lack of communication between Mr. Bailey and the

defendant that would prevent an adequate defense. Further, as a specific finding, the

undersigned finds there is a good likelihood that if substitute counsel was appointed

substitute counsel would not be as diligent in representing the defendant as Mr.

Bailey has been. It is not in the best interest of the defendant that substitute counsel

be appointed.



                                       ORDER

       IT IS, THEREFORE, ORDERED that the motion of the defendant entitled

“Motion to Relieve Counsel” (#243) and the portion of Mr. Bailey’s motion regarding



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his motion to withdraw as counsel for the defendant (#248) are hereby DENIED.

The court will enter other orders as to Mr. Bailey’s motion for an extension of time

to file additional objections to the report which is further contained in the motion

(#248) filed by Mr. Bailey.



                                         Signed: January 14, 2010




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